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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF PUERTO RICO

 In re:

 The Financial Oversight and Management Board
 for Puerto Rico,                                              PROMESA
                                                               Title III
              as representative of                             No. 17 BK 3283-LTS
 The Commonwealth of Puerto Rico, et al.                       (Jointly Administered)

                             Debtors.1

 The Financial Oversight and Management Board
 for Puerto Rico,

              as representative of

 The Commonwealth of Puerto Rico, et al.,
                                                               Adv. Proc. No. 18-00149-LTS
              and

 The Official Committee of Unsecured Creditors of
 All Title III Debtors (Other than COFINA),

              Plaintiffs,

 v.

 Puerto Rico Public Buildings Authority,

              Defendant.




          1
           The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283- LTS) (Last Four Digits of Federal Tax
ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK
3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808);
(iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
(Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico
Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal
Tax ID: 3747). (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).
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                  MOTION TO INTERVENE AND FOR JOINDER BY THE
                    LAWFUL CONSTITUTIONAL DEBT COALITION

        1.      The Lawful Constitutional Debt Coalition (the “LCDC”),2 which, on behalf of its

participating clients holds approximately $479,247,050 of bonds issued by the Puerto Rico Public

Buildings Authority (the “PBA”) and guaranteed by the Commonwealth of Puerto Rico (the

“Commonwealth”) prior to March 2012 (the “PBA Bonds”), hereby moves this Court, pursuant to

Rules 19 and 24 of the Federal Rules of Civil Procedure, made applicable to the above-captioned

adversary proceeding (the “Adversary Proceeding”) by Rules 7019 and 7024 of the Federal Rules

of Bankruptcy Procedure and section 310 of the Puerto Rico Oversight, Management, and

Economic Stability Act (“PROMESA”), 48 U.S.C. § 2170 et seq., for entry of an order

substantially in the form of Exhibit A, attached hereto, granting the LCDC leave to intervene as a

Defendant in the Adversary Proceeding.

        2.      The LCDC recognizes that a number of PBA bondholders, insurers, and ad-hoc

groups have already moved to intervene in the Adversary Proceeding (collectively, the

“Intervenors,” and their motions, the “Motions to Intervene”)3 and that briefing on the Motions to



        2
            The LCDC consists of the following institutional holders of early vintage Commonwealth
General Obligation (“GO”) bonds and PBA Bonds (as defined below): GoldenTree Asset Management LP
(on behalf of its participating clients) (“GoldenTree”), Monarch Alternative Capital LP (on behalf of its
participating clients) (“Monarch”), and Whitebox Advisors LLC (on behalf of its participating clients)
(“Whitebox”). Both GoldenTree and Monarch have previously moved to intervene in this Adversary
Proceeding as members of the PBA Funds group and PBA Sub-Group of the Commonwealth Bondholder
Group, respectively, but in the wake of the objection to claims filed by the Official Committee of Unsecured
Creditors and Special Claims Committee of the Financial Oversight and Management Board which affects
holders of bonds issued after March 2012, GoldenTree and Monarch have withdrawn from their respective
groups. Both GoldenTree and Monarch still wish to intervene in this matter on the same basis previously
sought. Contemporaneously herewith, the undersigned counsel have filed a notice of appearance in order
to appear on the LCDC’s behalf in the Adversary Proceeding.
        3
          See Dkt. Nos. 12 (Motion of the QTCB Nteholder Group to Intervene and/or for Joinder Under
Federal Rules of Bankruptcy Procedure 7024 & 7019), 14 (PBA Funds’ Motion to Intervene), 21 (Motion
of Assured Guaranty Corp. and Assured Guaranty Municipal Corp. for Leave to Intervene), 23 (Motion of
Ambac Assurance Corporation for Leave to Be Heard Under Section 1109(b) of the Bankruptcy Code and


                                                     2
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Intervene recently concluded on February 21, 2019.4 The LCDC has no intention of disrupting

the Court’s schedule or causing any delay in the Adversary Proceeding. Similar to the existing

Intervenors, the LCDC holds PBA Bonds, and thus has an economic interest in the Adversary

Proceeding and wishes to protect that interest through its participation in the Adversary Proceeding.

        3.      To that end, rather than file a separate substantive motion to intervene, which could

cause a new round of briefing or cause unnecessary delay, the LCDC simply wishes to incorporate

by reference the Motions to Intervene and the Joint Reply and hereby adopts the arguments therein

as their own. The LCDC will similarly agree to abide by any limitations on intervention proposed

in the Joint Reply if adopted by the Court, or as otherwise ordered by the Court with respect to the

Motions to Intervene. The LCDC also represents that it is moving to intervene solely to preserve

its right to be heard (if necessary) as the case unfolds, and outside of the present motion and its

accompanying Proposed Answer (attached hereto as Exhibit B), the LCDC does not anticipate

filing any additional papers at this time.5

        4.      Accordingly, the LCDC respectfully requests that the Court grant its motion and

allow the LCDC to participate as an Intervenor-Defendant in the Adversary Proceeding.



Federal Rule of Bankruptcy Procedure 7024), 24 (Motion of the PBA Sub-Group of the Commonwealth
Bondholder Group for Leave to Intervene), and 26 (National Public Finance Guarantee Corporation’s
Motion to Intervene).
        4
          See Dkt. Nos. 42 (Response of the Puerto Rico Public Buildings Authority to Motions to Intervene
and/or Joinder Filed by the PBA Funds, QTCB Noteholder Group, Assured Guaranty Municipal Corp.,
Ambac Assurance Corporation, the PBA Sub-Group of the Commonwealth Bondholder Group, and
National Public Finance Guarantee Corporation), 43 (Omnibus Limited Objection of Plaintiffs Official
Committee of Unsecured Creditors and Financial Oversight and Management Board for Puerto Rico to
Motions to Intervene as Defendants in Adversary Proceeding), and 48 (Joint Reply of Intervening
Defendants in Support of the Motions to Intervene) (the “Joint Reply).
        5
           The LCDC has previously informed the Financial Oversight and Management Board for Puerto
Rico (the “Oversight Board”) and the Official Committee of Unsecured Creditors of All Title III Debtors
(Other than COFINA) (the “Committee”) of its intent to intervene in this proceeding. Both the Oversight
Board and the Committee have consented to the LCDC’s intervention, subject to the same terms and
conditions that the Court adopts with respect to the Motions to Intervene.

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DATED:        February 26, 2019
Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this same date, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to counsel for
the parties of record.

                                     /s/Carlos R. Rivera-Ortiz
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